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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA
Vv.

AIDEN HENRY BILYARD,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 1:21-MJ-656

VIOLATIONS:

18 U.S.C. § 231(a)(3) (Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Deadly and
Dangerous Weapon)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly and
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly and Dangerous Weapon)

18 U.S.C. § 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly and Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

18 U.S.C. §§ 1361 and 2

(Destruction of Government Property)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)
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INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia, AIDEN HENRY
BILYARD, committed and attempted to commit an act to obstruct, impede, and interfere with a
law enforcement officer, that is, an officer from the Metropolitan Police Department, lawfully
engaged in the lawful performance of his/her official duties incident to and during the commission
of a civil disorder, and the civil disorder obstructed, delayed, and adversely affected commerce
and the movement of any article and commodity in commerce and the conduct and performance

of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
COUNT TWO

On or about January 6, 2021, within the District of Columbia, AIDEN HENRY
BILYARD, using a deadly and dangerous weapon, that is, a chemical agent commonly known as
“pepper gel,” attempted to and did forcibly assault, resist, oppose, impede, intimidate, and interfere
with, an officer and employee of the United States, and of any branch of the United States
Government (including any member of the uniformed services), that is, an officer from the
Metropolitan Police Department, while such person was engaged in or on account of the
performance of official duties, and where the acts in violation of this section involve the intent to

commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Deadly and Dangerous
Weapon, in violation of Title 18, United States Code, Sections 1 11(a)(1) and (b))
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COUNT THREE

On or about January 6, 2021, in the District of Columbia, AIDEN HENRY BILYARD,
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was temporarily visiting, without lawful authority to do so, and during and in relation to
the offense, did use and carry a deadly and dangerous weapon, that is, a chemical agent commonly
known as “pepper gel.”

(Entering and Remaining in a Restricted Building or Grounds with a Deadly and

Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and

(b)(1)(A))

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, AIDEN HENRY BILYARD,
did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions, and, during and in relation to the offense, did use and
carry a deadly and dangerous weapon, that is, a chemical agent commonly known as “pepper ge1.”

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly and Dangerous Weapon, in violation of Title 18, United States Code, Section

1752(a)(2) and (b)(1)(A))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, AIDEN HENRY

BILYARD did knowingly, engage in any act of physical violence against any person and property
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in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily visiting
and, during and in relation to the offense, did use and carry a deadly and dangerous weapon, that
is, a chemical agent commonly known as “pepper gel.”
(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly
and Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4)
and (b)(1)(A))
COUNT SIX
On or about January 6, 2021, in the District of Columbia, AIDEN HENRY BILYARD,
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds or in any of the Capitol Buildings, and with the intent to impede, disrupt, and
disturb the orderly conduct of a session of Congress and either House of Congress, and the orderly
conduct in that building of a hearing before or any deliberation of, a committee of Congress or

either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, AIDEN HENRY
BILYARD willfully and knowingly engaged in an act of physical violence within the United
States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, AIDEN HENRY

BILYARD, did willfully injure and commit depredation, and attempted to do so, and did aid and
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abet others known and unknown to do so, against property of the United States, and of any
department and agency thereof, and any property which has been and is being manufactured and
constructed for the United States, and any department or agency thereof, that is, a window at the
United States Capitol located outside Senate Terrace Room 2 Mezzanine, causing damage in an
amount more than $1,000.

(Destruction of Government Property and Aiding and Abetting, in violation of Title
18, United States Codes, Sections 1361 and 2)

COUNT NINE
On or about January 6, 2021, in the District of Columbia, AIDEN HENRY BILYARD,
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia.
